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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

In re:                                                 Chapter 11 Case
                                                       Subchapter V

Farma Sci Life, Inc.,                                  Case No. 23-10398

         Debtor.
                                 /

                        EXPEDITED MOTION TO AUTHORIZE
                   DEBTOR’S CONTINUED USE OF CASH COLLATERAL

                                **Expedited Hearing Requested**

                                     Basis for Expedited Relief

         The Debtor needs use of cash collateral in order for the Debtor to continue to
         operate and maintain its value as a going concern. Accordingly, the Debtor
         will suffer immediate and irreparable harm if it is not authorized to use cash
         collateral to operate its business. The Debtor respectfully requests that this
         motion be set for hearing on or before January 20, 2023.

         Farma Sci Life, Inc. (the “Debtor”) by and through its undersigned counsel and pursuant

to 11 U.S.C. §§ 105(a) and 363, respectfully requests that the Court enter an order authorizing the

Debtor to continue to use cash collateral. In support, the Debtor states as follows:


          RULE 4001(b)(1)(B) CONCISE STATEMENT SUMMARIZING RELIEF

        Name of Each Entity with a Cash Collateral Interest: The following creditors may have
         an interest in the Debtor’s cash collateral: (a) Headway Capital; (b) Everest Funding Group;
         (c) Pearl Funding; (d) BRMS, LLC; (e) TD Bank, N.A; (f) Fountainhead SBF, LLC; and
         (g) the United States Small Business Administration.

        Purpose for the Use of Cash Collateral: To operate the Debtor’s business.

        Material Terms: The Debtor requests interim use of cash collateral subject to the attached
         budget for a period of thirty days from the entry of an interim order, and further requests
         that the Court schedule a hearing on final approval of the Debtor’s use of cash collateral.

        Adequate Protection: All creditors which may claim an interest in cash collateral are


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          adequately protected by virtue of the fact that the Debtor will be operating on a cash flow
          positive basis, and additional adequate protection is proposed in the form of replacement
          liens.


          1.     January 18 , 2023 (the “Petition Date”), the Debtors filed a voluntary petition for

relief under subchapter V of chapter 11 of the United States Bankruptcy Code, 11 U.S.C. §§ 101

et seq.

          2.     The Debtor is operating its business and managing its affairs as a debtor in

possession pursuant to 11 U.S.C. §§1182(2) and 1184.

          3.     The Debtor is Florida corporation formerly known as BMH Ventures, Inc. and

formerly known as Blue Moon Hemp, Inc. that has operated since January of 2016.

          4.     The Debtor manufactures, distributes and engages in the online sale of cannabidiol

(CBD) and Delta 8 tetrahydrocannabinol consumer products sold under the Blue Moon Hemp

brand name.1

          5.     The Debtor maintains an office in Pompano Beach, Florida and operates out of a

manufacturing, warehouse, and distribution facility in Pompano Beach, Florida.

          6.     The Debtor has one individual, John M. Maloney, Jr., serving as its President, CEO,

and sole director. In addition to Mr. Maloney, the Debtor employs twenty-two other individuals,

including its founder and former chief operating officer, Christopher Cowart.

          7.     As of the Petition Date, the Debtor estimates: (a) the book value of its accounts

receivable at $549,919.55; (b) the book value of its inventory at $713,349.18; and (c) the book

value of its furniture and equipment at $106,521.00.




1
 Under the Agriculture Improvement Act of 2018, P.L. 115-334, codified in relevant part at 21
U.S.C. § 802(16) and 7 U.S.C. § 1639o, such products are no longer illegal under federal law.



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       8.       In order to finance its operations, the Debtor previously entered into a series of

agreements with several providers of merchant cash advances, wherein such providers purported

to take a security interest in the Debtor’s accounts and/or other assets. The Debtor has listed

prepetition debts—which the Debtor disputes—to the following providers of merchant cash

advances (collectively, the “MCA’s”):

             a. Headway Capital - $76,346.31;

             b. Everest Funding Group - $115,000.00;

             c. Pearl Funding - $154,000.00; and

             d. BRMS, LLC - $100,000.00.

       9.       While several UCC-1 financing statements have been filed in the Florida Secured

Transaction Registry listing the Debtor, none have been filed listing any of the MCA’s as a secured

party.2 Moreover, the Debtor believes that the debts asserted by the MCA’s are unenforceable due

to the terms of the agreements being criminally usurious. Accordingly, it is unclear which, if any,

of the MCA’s have a perfected security interest in any of the Debtor’s assets and cash collateral.

       10.      Moreover, the Debtor is obligated to the United States Small Business

Administration (the “SBA”) for $2,000,000.00 after having received an Economic Injury Disaster

Loan from the SBA. Finally, the Debtor received, pre-Petition, forgivable Paycheck Protection

Program loans from TD Bank, N.A and Fountainhead SBF, LLC (together, the “PPP Lenders”) in

the respective amounts of $512,500 and $460,360, which the Debtor has listed as contingent

claims. However, neither the SBA nor the PPP Lenders are listed as secured parties in any




2
  The financing statements filed in the Florida Secured Transaction Registry listing the Debtor
(including the Debtor’s former names BMH Ventures, Inc. and Blue Moon Hemp, Inc.) instead
list the following secured parties: (a) C T Corporation, as Representative; (b) First Corporate
Solutions, as Representative; and (c) Crestmark, a division of MetaBank, National Association.


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financing statements filed in the Florida Secured Transaction Registry listing the Debtor, and as

such, it does not appear that the SBA or the PPP Lenders have a perfected security interest in any

of the Debtor’s assets and cash collateral.

       11.     Attached hereto as Exhibit A is a thirteen-week budget (the “Budget”)

encompassing the Debtor’s expected income and expenses. As set forth in the Budget, the Debtor

expects to operate in bankruptcy on a cash flow positive basis.

       3.      The Debtor requires the use of cash collateral to fund the necessary operating

expenses of its business. As set forth below, the Debtor requests that the Court approve its use of

cash collateral pursuant to the terms of the Budget, and further authorize the Debtor to (a) exceed

any line item on the Budget by an amount equal to ten (10%) percent of each such line item; or (b)

to exceed any line item by more than ten (10%) percent so long as the total of all amounts in excess

of all line items for the Budget do not exceed ten (10%) percent in the aggregate of the total Budget.

                                           ARGUMENT

       4.      The Debtor's use of property of its estate is governed by Code section 363, which

provides in pertinent part that:

               If the business of the debtor is authorized to be operated under
               section . . . 1108 . . . of this title and unless the court orders
               otherwise, the [debtor] may enter into transactions, including the
               sale or lease of property of the estate, in the ordinary course of
               business, without notice or a hearing, and may use property of the
               estate in the ordinary course of business without notice or a
               hearing.

11 U.S.C. § 363(c)(1). A debtor in possession has all of the rights and powers of a trustee with

respect to property of the estate, including the right to use property of the estate in compliance

with § 363. See 11 U.S.C. § 1107(a).




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       5.        When a chapter 11 debtor in possession is authorized to operate its business, it may

use property of estate in the ordinary course of business, but is prohibited from using cash collateral

absent consent of the secured creditor or court authorization. 11 U.S.C. § 363(c). The Code defines

"cash collateral" as "cash, negotiable instruments, documents of title, securities, deposit accounts,

or other cash equivalents whenever acquired in which the estate and an entity other than the estate

have an interest . . ." 11 U.S.C. § 363(a).

       6.        It is appropriate for the Court to authorize the Debtor to use cash collateral because

(a) all creditors with a potential interest in the Debtor’s cash collateral are being adequately

protected and (b) such use will preserve the going concern value of the estate.

       A.        Potential Secured Creditors Are Adequately Protected.

       17.       The Bankruptcy Code does not define "adequate protection" but does provide a

non-exclusive list of the means by which a debtor may provide adequate protection, including

"other relief" resulting in the "indubitable equivalent" of the secured creditor's interest in its

collateral. See 11 U.S.C. § 361; see In re Potvin Lumber Company, Inc., 24 B.R. 54 (Bankr. D.

Vt. 1982) (ordering that the debtor could use cash collateral and finding that the bank was

adequately protected because the total value of the debtor's personal property exceeded the bank's

indebtedness).

       18.       Adequate protection is to be determined on a case-by-case factual analysis. See

Mbank Dallas, N.A. v. O'Connor (In re O'Connor), 808 F.2d 1393, 1396 (10th Cir. 1987); In re

Martin, 761 F.2d 472 (8th Cir. 1985); see also S. Rep. No. 95-989, 95th Cong., 2d Sess. 54

(1978). For example, O'Connor states that "[i]n order to encourage the Debtors' efforts in the

formative period prior to the proposal of a reorganization, the court must be flexible in applying

the adequate protection standard." 808 F.2d at 1396. (citations omitted).




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        19.    Adequate protection is meant to ensure that a secured creditor receives the value

for which it originally bargained pre-bankruptcy. Swedeland Dev. Group., Inc., 16 F.3d 552, 564

(3d Cir. 1994) (citation omitted). The essence of adequate protection is to ensure the maintenance

and continued responsibility of lien values during the interim between filing and confirmation in

a case. In re Arriens, 25 B.R. 79, 81 (Bankr. D. Or. 1982).

        20.    The MCA’s, the SBA, and the PPP Lenders are each potentially secured creditors

with a potential interest in the Debtor’s cash collateral. The adequate protection provided to such

potentially secured creditors includes (a) the Debtor's positive cash flow position, and (b)

replacement liens against the property of the Debtor for any use of cash collateral, with such liens

having the same seniority and entitled to the same level of priority as the priority of such creditors’

perfected liens—if any—against the Debtor's property that existed prior to the Petition Date.

        21.    The Debtor's requested use of cash collateral and the protections afforded to parties

with a potential interest in cash collateral herein are reasonable, appropriate, and sufficient to

satisfy the legal standard of "adequate protection" and will serve to maintain the value of alleged

collateral.

        B.     Cash Collateral Use Will Preserve the Debtor's Going Concern Value.

        22.    The continued operation of the Debtor's business will preserve its going concern

value, enable the Debtor to capitalize on that value through a reorganization strategy, and

ultimately facilitate the Debtor's ability to confirm a plan. However, if the Debtor is not allowed

to use cash collateral, especially through the regular collection of its accounts receivable, it will be

unable to operate.

        23.    It is well established that a bankruptcy court, where possible, should resolve issues

in favor of preserving the business of the debtor as a going concern:




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               A debtor, attempting to reorganize a business under Chapter 11,
               clearly has a compelling need to use "cash collateral" in its efforts
               to rebuild. Without the availability of cash to meet daily operating
               expenses such as rent, payroll, utilities, etc., the congressional policy
               favoring rehabilitation over economic failure would be frustrated.

In re George Ruggiere Chrysler-Plymouth, Inc., 727 F.2d 1017, 1019 (11th Cir. 1984); see In re

Stein, 19 B.R. 458, 460 (Bankr. E.D. Pa. 1982) (debtor permitted to use cash collateral when

creditor was undersecured because such use was necessary to its continued operations and the

creditor's secured position can only be enhanced by the continued operation of the debtor's

business).

       24.     If the Debtor cannot use cash collateral, it will be forced to cease operations. By

contrast, permitting cash collateral use will allow the Debtor to maintain operations and preserve

the going concern value of its business which will inure to the benefit of all creditors.

       25.     A proposed order granting this Motion on an interim basis is attached hereto as

Exhibit B.

       WHEREFORE, the Debtor requests that this Court enter an order: (a) authorizing the

Debtor's use of cash collateral in accordance with the Budget and the terms set forth herein for a

period of thirty (30) days from the date the Court grants the Motion; (b) granting the replacement

liens set forth above in connection with the Debtor's use of cash collateral; (c) scheduling a final

hearing; and (d) granting the Debtor such other and further relief as is just and proper.




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                                              Respectfully submitted,

                                              SHRAIBERG PAGE P.A.
                                              Proposed Attorneys for the Debtor
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                                              By: /s/ Eric Pendergraft
                                                     Bradley S. Shraiberg
                                                     Florida Bar No. 121622
                                                     Eric Pendergraft
                                                     Florida Bar No. 91927



                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished via

Notice of Electronic Filing by CM/ECF to all parties registered to receive such service on January

18, 2023. Additionally, a true and correct copy of the foregoing was furnished via U.S. Mail (and

if applicable, email) to the parties listed below on January 19, 2023.


                                       /s/ Eric Pendergraft



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175 W Jackson Blvd
Suite 1000
Chicago, IL 60604
support@headwaycapital.com




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Everest Funding Group
8200 NW 52nd Terrace
2nd Floor
Doral, FL 33166
gerado.arevalo@everestbusinessfunding.com

Pearl Funding
525 Washington Blvd
22nd Floor
Jersey City, NJ 07310

BRMS, LLC
1575 W Horizon Ridge Pkway
Henderson, NV 89012
eli.rubin@brmerchantservice.com

TD Bank, N.A.
Two Portland Square
Portland, ME 04112

TD Bank, N.A.
c/o United States Corporation Company
1201 Hays Street
Tallahassee, FL 32301

Fountainhead SBF, LLC
3216 West Lake Mary Drive
Lake Mary, FL 32746

U.S. Small Business Administration
Office of Disaster Assistance
14925 Kingsworth Road
Fort Worth, TX 76155




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                    EXHIBIT A
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                                                                                    2023 Pro‐Forma Statements
                                                                                        NO DIP FINANCING
Income Statement Projection                         Week 1            Week 2        Week 3           Week 4       Week 5       Week 6       Week 7        Week 8       Week 9      Week 10       Week 11      Week 12         Week 13           Totals
                                                    J16 ‐ J22         J23 ‐ J29     J30 ‐ F5         F6 ‐ F12     F13 ‐ F19    F20 ‐ F26    F27 ‐ M5     M6 ‐ M12     M13 ‐ M19    M20 ‐ M26     M27 ‐ A2     A3 ‐ A9         A10 ‐ A16          Q1
                # Reps ‐ Call Center                   6                 6             7                8            9            10          11            12           12           12           12           12               12
Sales                            Selling Days                    5             5              5              5         5        5                    5            5         5               5         5        5                        5
         Legacy Sales                           $          25,000 $      25,500 $       26,010 $       26,660 $ 27,060 $ 27,466 $              28,290 $     28,997 $ 30,012 $         30,762 $ 31,378 $ 31,692            $       32,072    $     370,900     33.0%
         Call Center                                       18,000        18,450         22,063         25,845    29,803   33,942               38,457       43,211    44,724          45,394    46,529   48,158           $       49,362    $     463,938     41.3%
         Other Reps                                         6,000         6,500          6,750          7,000     7,000    7,350                7,571        7,607     7,912           8,228     8,639    9,071           $        9,162    $      98,790      8.8%
         E‐Commerce                                        13,750        13,800         14,000         15,000    17,500   13,000               14,000       14,500    14,000          14,500    15,000   16,000           $       15,000    $     190,050     16.9%
        Total Revenue                                      62,755        64,255         68,828         74,511    81,368   81,763               88,322       94,321    96,652          98,890   101,551  104,926           $      105,596    $   1,123,678    100.0%
         Cumulative Revenues                               62,755       127,010        195,838         74,511   155,879  237,642               88,322      182,643   279,295          98,890   200,441  305,367                  410,963

COGS
         Raw COGS                                          20,082         20,562           22,025      23,843        26,038       26,164       28,263       30,183       30,929       31,645       32,496       33,576            33,791 $       359,596      32.0%
         Shipping                                             402            411              441         477           521          523          565          604          619          633          650          672 $           1,954 $         8,470       0.8%
         Shipping Supplies                                    100            103              110         119           130          131          141          151          155          158          162          168 $             489 $         2,118       0.2%
        Total COGS                                         20,584         21,076           22,576      24,439        26,689       26,818       28,970       30,937       31,702       32,436       33,309       34,416            36,234         370,184      32.9%

Gross Profit                                               42,171         43,179           46,253      50,071        54,679       54,945       59,352       63,384       64,950       66,454       68,243       70,510            69,362         753,494      67.1%

Operating Expenses
      Salaries & Wages
      Chris & John                                          7,500          7,500            7,500       7,500         7,500        7,500        7,500        7,500        7,500        7,500        7,500        7,500             7,500    $     97,500       8.7%
      Carol, Miguel, Creative                               5,000          5,000            5,000       5,000         5,000        5,000        5,000        5,000        5,000        5,000        5,000        5,000             5,000    $     65,000       5.8%
      Call Center Mgmt                                      3,000          3,000            3,000       3,000         3,000        3,000        3,000        3,000        3,000        3,000        3,000        3,000             3,000    $     39,000       3.5%
      Legacy Salary                                         1,000          1,000            1,000       1,000         1,000        1,000        1,000        1,000        1,000        1,000        1,000        1,000             1,000    $     13,000       1.2%
      Call Center Draw                                      3,750          3,750            4,375       5,000         5,625        6,250        6,875        7,500        7,500        7,500        7,500        7,500             7,500    $     80,625      22.4%
      Shipping                                              5,000          5,000            5,000       5,000         5,000        5,000        5,000        5,000        5,000        5,000        5,000        5,000             5,000    $     65,000       5.8%
                        Sub‐Total Salaries                 25,250         25,250           25,875      26,500        27,125       27,750       28,375       29,000       29,000       29,000       29,000       29,000            29,000         360,125      32.0%

        Commissions ‐ Legacy                                 2,500         2,550            2,601        2,666        2,706        2,747        2,829        2,900        3,001         3,076        3,138       3,169             3,207    $      37,090      3.3%
        Commissions ‐ Call Center                            1,800         1,845            2,206        2,585        2,980        3,394        3,846        4,321        4,472         4,539        4,653       4,816             4,936    $      46,394      4.1%
        Commissions ‐ Call Center Net                       (1,950)       (1,905)          (2,169)      (2,415)      (2,645)      (2,856)      (3,029)      (3,179)      (3,028)       (2,961)      (2,847)     (2,684)           (2,564)         (34,231)    ‐3.0%
        Commissions ‐ Other Reps                               600           650              675          700          700          735          757          761          791           823          864         907               916    $       9,879      0.9%
        Commissions ‐ Override                                 540           554              662          775          894        1,018        1,154        1,296        1,342         1,362        1,396       1,445             1,481    $      13,918      1.2%
        Commissions ‐ Ecomm                                    688           690              700          750          875          650          700          725          700           725          750         800               750    $       9,503      0.8%
                 Commissions ‐ Sub‐Total                     4,178         4,384            4,676        5,060        5,511        5,688        6,256        6,824        7,279         7,565        7,953       8,453             8,727           82,552      7.3%

                             Sub‐Total ‐ SGA               29,428         29,634           30,551      31,560        32,636       33,438       34,631       35,824       36,279       36,565       36,953       37,453            37,727 $       442,677      39.4%
        PTEB                                                5,297          5,334            5,499       5,681         5,874        6,019        6,234        6,448        6,530        6,582        6,652        6,741             6,791 $        79,682       7.1%
                                   Total SGA               34,724         34,968           36,050      37,241        38,510       39,457       40,865       42,272       42,809       43,146       43,605       44,194            44,517         522,359      46.5%

        Marketing & Promo                                     471            482              516         559           610          613          662          707          725          742          762          787               792    $      8,428       0.8%
        Social Media Marketing                                750            750              750         750           750          750          750          750          750          750          750          750               750    $      9,750       0.9%
        Merchant Charges                                    2,008          2,056            2,203       2,384         2,604        2,616        2,826        3,018        3,093        3,164        3,250        3,358             3,379    $     35,960       3.2%
        Computer & Internet                                   600            600              600         600           600          600          600          600          600          600          600          600               600    $      7,800       0.7%
       Rent Expense                                         2,750          2,750            2,750       2,750         2,750        2,750        2,750        2,750        2,750        2,750        2,750        2,750             2,750    $     35,750       3.2%
        Insurance                                             750            750              750         750           750          750          750          750          750          750          750          750               750    $      9,750       0.9%
        Travel & Entertainment                                750            750              750         750           750          750          750          750          750          750          750          750               750    $      9,750       0.9%
        Auto Expense                                          500            500              500         500           500          500          500          500          500          500          500          500               500    $      6,500       0.6%
        Office Supplies & Expense                             200            200              200         200           200          200          200          200          200          200          200          200               200    $      2,600       0.2%
        Professional Fees                                   3,000          3,000            3,000       3,000         3,000        3,000        3,000        3,000        3,000        3,000        3,000        3,000             3,000    $     39,000       3.5%
        Repairs & Maintenance                                 200            200              200         200           200          200          200          200          200          200          200          200               200    $      2,600       0.2%
        Telephone                                             750            750              750         750           750          750          750          750          750          750          750          750               750    $      9,750       0.9%
        Utilities                                             700            700              700         700           700          700          700          700          700          700          700          700               700    $      9,100       0.8%
        Dues/Subscriptions/Donations                          150            150              150         150           150          150          150          150          150          150          150          150               150    $      1,950       0.2%
        Taxes & Licenses                                      500            500              500         500           500          500          500          500          500          500          500          500               500    $      6,500       0.6%
        Other ‐ Misc                                          941            964            1,032       1,118         1,221        1,226        1,325        1,415        1,450        1,483        1,523        1,574             1,584    $     16,856       1.5%
Total Operating Expenses ‐ Variable                        15,020         15,102           15,351      15,661        16,035       16,056       16,414       16,740       16,868       16,990       17,135       17,318            17,355    $    212,044      18.9%
       Total OPEX                                          49,745         50,069           51,401      52,902        54,545       55,513       57,278       59,013       59,677       60,136       60,740       61,513            61,872         734,403      65.4%

Net Operating Income (EBITDA)                               (7,573)       (6,890)          (5,148)      (2,831)          135        (568)       2,074        4,371        5,274        6,318        7,503        8,998            22,819          16,501       1.5%

        Cash In                                             62,755        64,255         68,828        74,511        81,368       81,763       88,322       94,321       96,652        98,890     101,551      104,926           105,596        1,123,678
        Cash Out                                           (49,745)      (50,069)       (51,401)      (52,902)      (54,545)     (55,513)     (57,278)     (59,013)     (59,677)      (60,136)    (60,740)     (61,513)          (61,872)        (734,403)
        Cash +/‐                                            13,010        14,186         17,427        21,608        26,823       26,250       31,044       35,308       36,976        38,754      40,812       43,413            43,723          389,275
        COGS Cash @ 50%                                     10,292        10,538         11,288        12,220        13,344       13,409       14,485       15,469       15,851        16,218      16,654       17,208            18,117
        Net Cash Available                                   2,719         3,648          6,140         9,389        13,479       12,841       16,559       19,839       21,125        22,536      24,157       26,205            25,607




        Notes:
        Current levels of sales and personnel are reflected.
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                            SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

In re:                                               Chapter 11 Case
                                                     Subchapter V

Farma Sci Life, Inc.,                                Case No. 23-10398

         Debtor.
                                 /

                INTERIM ORDER GRANTING EXPEDITED MOTION
         TO AUTHORIZE DEBTOR’S CONTINUED USE OF CASH COLLATERAL

         THIS MATTER came before the Court for hearing on January 20, 2023 upon the

Expedited Motion to Authorize Debtor’s Continued Use of Cash Collateral [ECF No. ___] (the

“Motion”) filed by Farma Sci Life, Inc. (the “Debtor”).

         Having considered the Motion, the argument of counsel, the record in this case, and being

otherwise fully advised in the premises, it is ORDERED AND ADJUDGED that:

         1.     The Motion [ECF No. ___] is GRANTED on an interim basis subject to a final

hearing.




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        2.      Use of Cash Collateral. The Debtor shall be entitled to use cash collateral to pay

all ordinary and necessary expenses in the ordinary course of its business for the purposes

contained in the budget attached to the Motion as Exhibit A (the "Budget") for a period of thirty

days from the date of this Order. The Debtor is also authorized: (a) to exceed any line item on the

Budget by an amount equal to ten (10%) percent of each such line item; or (b) to exceed any line

item by more than ten (10%) percent so long as the total of all amounts in excess of all line items

for the Budget do not exceed ten (10%) percent in the aggregate of the total Budget.

        3.      Replacement Liens.      Notwithstanding the provisions of section 552(a) of the

Bankruptcy Code, and in addition to the security interests preserved by § 552(b) of the Bankruptcy

Code, the Debtor grants in favor of (a) Headway Capital; (b) Everest Funding Group; (c) Pearl

Funding; (d) BRMS, LLC; (e) TD Bank, N.A; (f) Fountainhead SBF, LLC; and (g) the United

States Small Business Administration, as security for all indebtedness that is owed by the Debtor

to the same, but only to the extent that each entity’s cash collateral is used by the Debtor, post-

petition security interests and liens in, to and against any and all personal property assets of the

Debtor, to the same extent and priority that each such entity held a properly perfected pre-petition

security interest in such assets; provided that, however, under no circumstances shall each entity

have a lien on any causes of action arising under 11 U.S.C. § 542 et seq., 547, 548, 549, 550, 551,

or any of the Debtor's assets that it did not have a right to pre-petition.

        4.      Duration. The use of cash collateral provisions in this Order shall remain in effect

for a period of thirty days from the date hereof, or until otherwise ordered by the Court.

        5.      Final Hearing. This Court shall hold a final hearing on cash collateral on ______

____, 2023 at ___:_____ ____.m. at the United States Bankruptcy Courthouse, Flagler Waterview

Building, 1515 North Flagler Drive, 8th Floor, Courtroom B, West Palm Beach, Florida 33401.



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Submitted by:

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Copy to: Bradley S. Shraiberg, Esq.

Eric Pendergraft is directed to serve a copy of this Order upon all interested parties and to file a
certificate of service with the Court.




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